            Case 1:16-cv-01813-WTL-MPB Document 10 Filed 09/01/16 Page 1 of 2 PageID #: 59
                        Case MDL No. 2492 Document 77 Filed 09/01/16 Page 1 of 2
Judge: John Z. Lee
Magistrate: M. David Weisman
Filed: 9/1/2016
Case #'s: 16cv8579 CAN, 16cv8581 CO,   UNITED STATES JUDICIAL PANEL
                                                    on
16cv8582 INS, 16cv8583 INS, 16cv8584 MA MULTIDISTRICT LITIGATION
mr


            IN RE: NATIONAL COLLEGIATE ATHLETIC
            ASSOCIATION STUDENT−ATHLETE
            CONCUSSION INJURY LITIGATION                                                             MDL No. 2492



                                               (SEE ATTACHED SCHEDULE)



                                     CONDITIONAL TRANSFER ORDER (CTO −6)



            On December 18, 2013, the Panel transferred 1 civil action(s) to the United States District Court for
            the Northern District of Illinois for coordinated or consolidated pretrial proceedings pursuant to 28
            U.S.C. § 1407. See 988 F.Supp.2d 1373 (J.P.M.L. 2013). Since that time, 17 additional action(s)
            have been transferred to the Northern District of Illinois. With the consent of that court, all such
            actions have been assigned to the Honorable John Z. Lee.

            It appears that the action(s) on this conditional transfer order involve questions of fact that are
            common to the actions previously transferred to the Northern District of Illinois and assigned to
            Judge Lee.

            Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
            Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
            Northern District of Illinois for the reasons stated in the order of December 18, 2013, and, with the
            consent of that court, assigned to the Honorable John Z. Lee.

            This order does not become effective until it is filed in the Office of the Clerk of the United States
            District Court for the Northern District of Illinois. The transmittal of this order to said Clerk shall be
            stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
            Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                                    FOR THE PANEL:
                   Sep 01, 2016
                                                                                       A TRUE COPY-ATTEST
                                                                    Jeffery N. LüthiTHOMAS G. BRUTON, CLERK
                                                                    Clerk of the Panel             -
                                                                                       By: s/ MELISSA RIVERA
                                                                                           DEPUTY CLERK
                                                                                 U.S. DISTRICT COURT, NORTHERN
                                                                                        DISTRICT OF ILLINOIS
                                                                                                   -
                                                                                          September 1, 2016
Case 1:16-cv-01813-WTL-MPB Document 10 Filed 09/01/16 Page 2 of 2 PageID #: 60
           Case MDL No. 2492 Document 77 Filed 09/01/16 Page 2 of 2




  IN RE: NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION STUDENT−ATHLETE
  CONCUSSION INJURY LITIGATION                                                MDL No. 2492



                     SCHEDULE CTO−6 − TAG−ALONG ACTIONS



     DIST     DIV.      C.A.NO.      CASE CAPTION


  CALIFORNIA NORTHERN

     CAN        4      16−03805      Burns v. Stanford University et al   16cv8579

  COLORADO

     CO         1      16−01732      Carr v. Brigham Young University et al 16cv8581

  INDIANA SOUTHERN

                                     BURKHOLDER v. WAKE FOREST UNIVERSITY et
     INS        1      16−01812      al 16cv8582
                                     CRAWFORD v. ATLANTIC COAST CONFERENCE
     INS        1      16−01813      et al 16cv8583

  MASSACHUSETTS

     MA         1      16−11431      Capriola v. Trustees of Boston College et al 16cv8584
